                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                  No. 5:12-CR-237-D
                                  No. 5:20-CV-337-D


LESLIE AARON MCKEITHAN,                        )
                                               )
                          Petitioner,          )
                                               )
                   v.                          )                       ORDER
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                          Respondent.          )


         Having examined petitioner's motion pursuant to Rule 4(b) of the Rules Governing§ 2255

Proceedings, the United States Attorney is DIRECTED to file an Answer pursuant to Rule 5, Rules

Governing § 2255 Proceedings, orto make such other response as appropriate to the above-captioned

§ 225 5 Motion to Vacate, Set Aside or Correct Sentence, within forty (40) days of the filing of this

order.

         SO ORDERED. This _1_ day of August 2020.




                                                        United States District Judge




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